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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : Case No.: 21-CR-594 (TSC)
Vv. : 18 U.S.C. §§ 1512(c)(2), 2
18 U.S.C. § 1363
JOSHUA DILLON HAYNES,
Defendant.

STATEMENT OF OFFENSE

Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, and the defendant, JOSHUA DILLON
HAYNES, with the concurrence of his attorney, agree and stipulate to the below factual basis for
the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that
the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol
include permanent and temporary security barriers and posts manned by USCP. Only authorized
people with appropriate identification are allowed access inside the Capitol.

2. On January 6, 2021, the exterior plaza of the Capito) was closed to members of the
public.

3. On January 6, 2021, a joint session of the United States Congress convened at the
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting

in the Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election,

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which had taken place on Tuesday, November 3, 2020. The joint session began at approximately
1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and Senate adjourned to
separate chambers to resolve a particular objection. Vice President Mike Pence was present and
presiding, first in the joint session, and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.
Temporary and permanent barricades, as noted above, were in place around the exterior of the
Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol
and the proceedings underway inside.

5. At approximately 2:00 PM, certain individuals in the crowd forced their way
through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter or
remain in the building and, prior to entering the building, no members of the crowd submitted to
security screenings or weapons checks as required by USCP officers or other authorized security
officials.

6. At such time, the certification proceedings were still underway, and the exterior
doors and windows of the Capitol were locked or otherwise secured. Members of the USCP
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows
and by assaulting members of law enforcement, as others in the crowd encouraged and assisted
those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $1.4 million dollars for repairs.

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i Shortly thereafter, at approximately 2:20 PM, members of the House of
Representatives and of the Senate, including the President of the Senate, Vice President Pence,
were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United
States Congress, including the joint session, were effectively suspended until shortly after 8:00
PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to
the Capitol—including the danger posed by individuals who had entered the Capitol without any
security screening or weapons check—Congressional proceedings could not resume until after
every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that
the building was secured. The proceedings resumed at approximately 8:00 PM after the building
had been secured. Vice President Pence remained in the Capitol from the time he was evacuated
from the Senate Chamber until the session resumed.

Joshua Dillon Haynes’s Participation in the January 6, 2021, Capitol Riot

8. The defendant, JOSHUA DILLON HAYNES, lives in Covington, Virginia. On
January 5, 2021, defendant traveled from Covington, Virginia to Washington, D.C. The purpose
of the defendant’s trip to Washington, D.C., was to protest Congress’ certification of the Electoral
College. On January 6, HAYNES attended the “Stop the Steal” rally and then marched with other
protestors to the Capitol.

9. At about 2:30 p.m., HAYNES was on restricted grounds, a part of the mob that had
gathered on the Lower West Terrace, outside the East Rotunda Doors. HAYNES was wearing a
moto-style leather jacket with an American flag bandana tied around his left bicep, yellow
bandana/neck gaiter around his neck, black pants, black head covering pulled down around his

neck, and distinctive black shoes with bright green/yellow detailing.

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10. At about 2:50 p.m., HAYNES followed a mob of protestors and entered the U.S.
Capitol building through the Senate Wing door, which was initially breached at around 2:13 p.m.
As he entered, HAYNES witnessed individuals entering the building through a broken-out window
next to the Senate Wing door, and an audible alarm was triggered by the door. HAYNES remained
in the the building until approximately 3:12 p.m. HAYNES walked throughout the U.S. Capitol,
including to the Crypt and inside the office of an U.S. Senator, among other places.

Destruction of Air Conditioning Unit

11. While outside of the building, HAYNES assisted two other individuals in forcibly
removing an air-conditioning unit from a building outside the U.S. Capitol and dropped the air-
conditioning unit to the ground.

Assault on Media Statging Area

12. At approximately 4:50 p.m., on January 6, 2021, a large crowd made its way to
and/or past a media staging area that was set up outside the northeast corner of the U.S. Capitol,
on U.S. Capitol grounds. As individuals moved past metal barricades that had been set up around
the staging area, media members were forced to flee the area before recovering all their cameras
and associated equipment. Numerous members of the crowd began to destroy the equipment,
including cameras, tripods, lights, shades, and remote broadcasting equipment that belonged to
various media outlets. Numerous members of the crowd yelled inflammatory rhetoric against the
members of the media.

13. | One member of the media who was forced to flee the scene estimated that the
equipment from his particular news organization that was destroyed was valued at between

$30,000 and $34,000.

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14. At approximately 5 p.m., HAYNES, picked up and slammed down multiple pieces

of equipment that belonged to media outlets.
Text Messages

15. | HAYNES took several “selfies” inside the U.S. Capitol and at the media staging
area and sent the images via text messages to his associates. HAYNES sent a text message on
January 6, 2021 from inside the office of a U.S. Senator to an associate and stated, “I’m inside
Congress he stormed inside.” A short time later, HAYNES sent the text, “we *”. HAYNES and
the associate continued to exchange text messages about what was being reported by the live news

about the events occurring at the U.S. Capitol:

HAYNES: “T'm inside.”
Associate: “Breaking windows to get in”
“The People did.”
HAYNES: “I know I crawled through the window.”
Associate: “Erase this.”
HAYNES: “What did Congress do did they certify Joe Biden?”
Associate: “a Fri [sic] said he gave a speech all I know.”
HAYNES: “No because we storm inside they stop debating and said the army

is going to have to do it decide who's president.”
16. While inside the U.S. Capitol, HAYNES sent images to another associate along
with the text, “We are inside the Congress the Senate we stormed inside.” Later on January 6,
2021, after the equipment at the media staging area was destroyed as described above, HAYNES
sent to the same associate a text indicating another individual had said, “said dont [sic] be like
antifa tearing stuff up.” HAYNES replied, “ahhhh tooooo late,” “broke lotsa stuff,” “lol.”

HAYNES then sent an image with the message, ““We attacked the CNN reporters and the fake

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news and destroyed tens of thousands of dollars of their video and television equipment here's a

picture behind me of the pile we made out of it.” This image shows HAYNES standing in front of

the destroyed equipment at the media staging area. HAYNES sent the following to the same

associate:

HAYNES:

Associate:

HAYNES:

“They had to run away from us and leave all their equipment so we
destroyed it”

“7 Kicked the fake news ass.”
“Tmfao.”

“ahhhhh I liked it too I have already seen a report of it and I am in
the video destroying the stuff but I’m wearing a mask,”

“T had to keep my face covered,”

“I want to get busted for tearing up the nations capital [sic] and the
fake news.”

“Well back God we fucking stood up today that she will go down in
history for thousands of years no one is ever storm the capital [sic]
like that,”

“I mean we broke down the doors and windows and just went the
fuck in,”

“fight the cops push them back and went in there.”

17. On February 14, 2021, HAYNES sent an image to the same associate showing the

FBI images of HAYNES depicted in the FBI’s online Photographs for #203-AOM A-D that were

posted on February 2021. HAYNES followed the image with the following texts: “erase

immediately,” “aom = assault on media.” The associate replied, “Damn.” Then HAYNES sent a

face palm emoji, commonly used to express frustration, embarrassment, or regret at the clumsiness

or ineptness of a person or situation.

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Elements of the Offense
18. JOSHUA DILLON HAYNES knowingly and voluntarily admits to all the
elements of 18 U.S.C. § 1363.
19, JOSHUA DILLON HAYNES knowingly and voluntarily admits to all the elements
of 18 U.S.C. §§ 1512(c)(2) & 2. Specifically, defendant admits that:
e The defendant willfully and knowingly entered the U.S. Capitol Building knowing that he
did not have permission to do so. Defendant further admits that while inside the Capitol,
he corruptly obstructed, influenced, and impeded an official proceeding, that is, a
proceeding before Congress, specifically, Congress’s certification of the Electoral College
vote as set out in the Twelfth Amendment of the Constitution of the United States and 3

U.S.C. §§ 15-18.

Respectfully submitted,

MATTHEW M. GRAVES
United States Attorney
D.C. Bar No. 481052

By: /4s/Andrew J. Tessman
Andrew. J. Tessman
Assistant United States Attorney
W.V. Bar No. 13734

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DEFENDANT’S ACKNOWLEDGMENT

I, JOSHUA DILLON HAYNES, have read this Statement of the Offense and have
discussed it with my attorney. I fully understand this Statement of the Offense. I agree and
acknowledge by my signature that this Statement of the Offense is true and accurate. 1 do this
voluntarily and of my own free will. No threats have been made to me nor am I under the influence
of anything that could impede my ability to understand this Statement of the Offense fully.

Date: (- IY -W0AR

 
   

  

HUA DILLON HAYNES
efendant

ATTORNEY’S ACKNOWLEDGMENT

[have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.

Date: it fe MES Zo
even Roy Kiers

Attorney for Defendant

 

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UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

vs. Criminal Case No.: 21-594 (TSC)

JOSHUA DILLON HAYNES

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WAIVER OF TRIAL BY JURY

With the consent of the United States Attorney and the approval of the Court, the defendant

 

waives his right to trial by jury.
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4 _# A
£4 ee, _-
Counsel for Defendant J
I consent:
Qenneler Legh. Blackiell,

 

A&sistant“United States attorney

Approved:

Date:

 

 

Tanya S. Chutkan

United States District Judge
